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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                           GAINESVILLE DIVISION

MARY WILLIAMS,                          )
                                        )
                Plaintiff,              )     Civil Action
                                        )     File No. 2:17-cv-205-RWS
      v.                                )
                                        )
MARC LOFTON, et al.,                    )
                                        )
                Defendants.             )

           JOINT PRELIMINARY REPORT AND DISCOVERY PLAN

      COME NOW the parties in the above-styled civil action and present their

Joint Preliminary Report and Discovery Plan as follows:

1. Description of Case:

      (a) Describe briefly the nature of this action.

      This is a civil rights case for violations of the First, Fourth, and

Fourteenth Amendments of the United States Constitution, the Americans

with Disabilities Act, and Georgia law, resulting from an arrest and

subsequent prosecution for failure to maintain lane, obstruction of a law

enforcement officer and driving under the influence.

    (b) Summarize, in the space provided below, the facts of this case. The
summary should not be argumentative nor recite evidence.

By Plaintiff:
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      Plaintiff alleges that Defendants violated the First, Fourth, and

Fourteenth Amendments, the Americans with Disabilities Act, and Georgia

law by illegally seizing her without sufficient legal justification on suspicion of

driving while intoxicated. Plaintiff asserts that she was arrested for driving

under the influence for taking medications as prescribed by her doctor that

did not negatively affect her ability to drive. Plaintiff asserts that Defendant

Lofton had a widespread pattern and practice of making arrests without

sufficient probable cause for driving under the influence, that he lacked

appropriate training for reliably making arrests on the basis of lawfully

prescribed medications, and that Defendants Johnston and the City of

Statham were aware of and encouraged Defendant Lofton’s pattern and

practice. Plaintiff’s criminal charges were dismissed.

By Defendants:

       On October 24, 2015, Statham Police Officer Marc Lofton initiated a

traffic stop of plaintiff’s vehicle after observing plaintiff fail to maintain her

lane of travel. Lofton observed that plaintiff’s eyes were bloodshot, and

further observed that she was slurring her speech in a manner consistent with

being impaired due to being under the influence of an intoxicant. Plaintiff

consented to a field sobriety test. Based on Lofton’s observations of plaintiff


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during the field sobriety test, Lofton developed sufficient probable cause to

believe that plaintiff was impaired due to being under the influence of an

intoxicant, and arrested plaintiff on charges of DUI driving less safe in

violation of O.C.G.A. § 40-6-391A2, failure to maintain lane in violation of

O.C.G.A. § 40-6-6-48, and obstruction in violation of O.C.G.A. § 16-10-24 for

failing to comply with Lofton’s lawful orders that she place her hands behind

her back for arrest.

      (c) The legal issues to be tried are as follows:

By Plaintiff:

   1. Whether Defendants are liable for false arrest and malicious
      prosecution of Plaintiff under 42 U.S.C. § 1983 and the Fourth
      Amendment;

   2. Whether Defendants are liable for violating the Americans with
      Disabilities Act;

   3. Whether Defendant Lofton retaliated against Plaintiff for engaging in
      protected speech activity in violation of 42 U.S.C. § 1983 and the First
      and Fourth Amendments;

   4. Whether Defendants are liable for fabricating evidence in support of
      Plaintiff’s criminal prosecution under 42 U.S.C. § 1983 and the
      Fourteenth Amendment;

   5. Whether Defendant Lofton is liable for violations of O.C.G.A. §§ 51-7-
      20 and 51-7-40;




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   6. Whether Plaintiff is entitled to recover attorney’s fees under O.C.G.A. §
      13-6-11 and/or 42 U.S.C. § 1988;

   7. The amount of damages Plaintiff is entitled to recover from Defendants
      on each claim.

By Defendants:

   1. Whether defendants violated plaintiff’s rights or breached any duties
      owed to her under the U.S. Constitution or Georgia law;

   2. Whether Officer Lofton is entitled to qualified immunity for plaintiff’s
      federal claims;

   3. Whether Officer Lofton is entitled to official immunity for plaintiff’s
      state law claims;

   4. Whether Johnston is liable for plaintiff’s federal claims under a theory
      of supervisory liability;

   5. Whether Statham had an official policy or custom which was the
      moving force behind the constitutional violations alleged in the
      complaint; and

   6. Whether plaintiff is entitled to damages, and if so, the extent of such
      damages.

(d) The cases listed below (include both style and action number) are:

      (1) Pending Related Cases:

      Pickens v. Lofton, et al. 2:17-cv-156
      Carpenter v. Lofton, et al., 2:17-cv-206
      Foster v. Lofton, et al., 2:17-cv-278

      (2) Previously Adjudicated Related Cases:



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      State of Georgia v. Mary Williams, 16-CR-943-M
      Barrow County Superior Court

2. This case is complex because it possesses one (1) or more of the features listed
below (please check):

_____ (1) Unusually large number of parties

_____ (2) Unusually large number of claims or defenses

 X     (3) Factual issues are exceptionally complex

_____ (4) Greater than normal volume of evidence

 X     (5) Extended discovery period is needed

       (6) Problems locating or preserving evidence

_____ (7) Pending parallel investigations or action by government

  X    (8) Multiple use of experts

_____ (9) Need for discovery outside United States boundaries

_____ (10) Existence of highly technical issues and proof

_____ (11) Unusually complex discovery of electronically stored information

3. Counsel:

      The following individually-named attorneys are hereby designated as lead
counsel for the parties:

Plaintiff:

      Zack Greenamyre
      Georgia Bar No. 293002


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      Jeffrey R. Filipovits
      Georgia Bar No. 825553

Defendant Marc Lofton:

      James R. Westbury, Jr.
      Georgia Bar No. 749626

Defendant City of Statham and Chief Allan Johnston:

      Harvey S. Gray
      Georgia Bar No. 305838

4. Jurisdiction:

      Is there any question regarding this court's jurisdiction?

      ____ Yes X      No

       If “yes,” please attach a statement, not to exceed one (1) page, explaining the
jurisdictional objection. When there are multiple claims, identify and discuss
separately the claim(s) on which the objection is based. Each objection should be
supported by authority.

5. Parties to This Action:

      (a) The following persons are necessary parties who have not been joined:

             None.

      (b) The following persons are improperly joined as parties:

             None.

      (c) The names of the following parties are either inaccurately stated or
necessary portions of their names are omitted:


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             None.

      (d) The parties shall have a continuing duty to inform the court of any
contentions regarding unnamed parties necessary to this action or any contentions
regarding misjoinder of parties or errors in the statement of a party's name.

6. Amendments to the Pleadings:

       Amended and supplemental pleadings must be filed in accordance with the
time limitations and other provisions of Fed. R. Civ. P. 15. Further instructions
regarding amendments are contained in LR 15.

       (a) List separately any amendments to the pleadings that the parties
anticipate will be necessary:

      (b) Amendments to the pleadings submitted LATER THAN THIRTY (30)
DAYS after the Joint Preliminary Report and Discovery Plan is filed, or should
have been filed, will not be accepted for filing, unless otherwise permitted by law.

7. Filing Times For Motions:

        All motions should be filed as soon as possible. The local rules set specific
filing limits for some motions. These times are restated below.

       All other motions must be filed WITHIN THIRTY (30) DAYS after the
beginning of discovery, unless the filing party has obtained prior permission of the
court to file later. Local Rule 7.1A(2).

      (a) Motions to Compel: before the close of discovery or within the extension
period allowed in some instances. Local Rule 37.1.

      (b) Summary Judgment Motions: within thirty (30) days after the close of
discovery, unless otherwise permitted by court order. Local Rule 56.1.

      (c) Other Limited Motions: Refer to Local Rules 7.2A; 7.2B, and 7.2E,
respectively, regarding filing limitations for motions pending on removal,
emergency motions, and motions for reconsideration.

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      (d) Motions Objecting to Expert Testimony: Daubert motions with regard to
expert testimony no later than the date the proposed pretrial order is submitted.
Refer to Local Rule 7.2F.

8. Initial Disclosures:

      The parties are required to serve initial disclosures in accordance with Fed.
R. Civ. P. 26. If any party objects that initial disclosures are not appropriate, state
the party and basis for the party's objection.

      The parties do not object to Initial Disclosures.

9. Request for Scheduling Conference:

       Does any party request a scheduling conference with the Court? If so, please
state the issues to be addressed and the position of each party.

      The parties do not request a scheduling conference.

10. Discovery Period:

        The discovery period commences thirty (30) days after the appearance of the
first defendant by answer to the complaint. As stated in LR 26.2A, responses to
initiated discovery must be completed before expiration of the assigned discovery
period.

       Cases in this court are assigned to one of the following three (3) discovery
tracks: (a) zero (0)-months discovery period, (b) four (4)-months discovery period,
and (c) eight (8)-months discovery period. A chart showing the assignment of
cases to a discovery track by filing category is contained in Appendix F. The track
to which a particular case is assigned is also stamped on the complaint and service
copies of the complaint at the time of filing.

      Please state below the subjects on which discovery may be needed:

      The parties will need to conduct discovery with respect to all issues
raised in the Complaint and defenses raised in the Answer.

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      If the parties anticipate that additional time beyond that allowed by the
assigned discovery track will be needed to complete discovery or that discovery
should be conducted in phases or be limited to or focused upon particular issues,
please state those reasons in detail below:

        Plaintiff’s lawsuit is accompanied by two currently-pending lawsuits by
individuals who were arrested for DUI by Officer Lofton—Pickens v. Lofton,
et al., 2:17-cv-156-RWS and Carpenter v. Lofton, et al., 2:17-cv-206-RWS. Both
are pending before this Court, and the plaintiffs and defendants in all cases
are represented by the same attorneys.

      In the interests of efficiency, the parties propose these cases be
informally consolidated for the purposes of discovery. While the facts of each
individual Plaintiff’s arrest differ, there are certain issues that are common
between all Plaintiffs.

      The parties believe they will be able to handle the details of the
discovery consolidation through stipulation and agreement. For example, the
parties anticipate they will reach an agreement concerning the timing and
scope of Defendant Lofton’s deposition, and do not believe that three separate
depositions will be necessary. Likewise, the parties anticipate that each of
Plaintiffs’ experts will only need to be deposed once, rather than three
separate times. Discovery related to other common issues may likewise be
consolidated by agreement of the parties as the cases progress.

      If at any point in the discovery process the parties reach an impasse,
they will report promptly seek guidance from the Court.

      Because of the overlap in discovery, multiple pending lawsuits, multiple
anticipated experts, and the factual complexity of the case the parties
anticipate that an eight-month discovery period will be necessary to complete
discovery. This request for an eight-month discovery period is made jointly by
all parties.

11. Discovery Limitation and Discovery of Electronically Stored Information:



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       (a) What changes should be made in the limitations on discovery imposed
under the Federal Rules of Civil Procedure or Local Rules of this Court, and what
other limitations should be imposed?

       The parties agree that discovery material (both requests and responses)
may be served via electronic means and that neither party requires service via
U.S. mail.
       The parties agree that, for any discovery requests served via electronic
means, three days shall be added to time for any necessary response as set
forth in Fed. R. Civ. P. 6(d).
       The parties reserve the right to request that any party producing who
has produced discovery responses via electronic means to also supply a
physical copy of those responses. The parties agree to comply with any such
request for physical production within seven days.

      (b) Is any party seeking discovery electronically stored information?

        X   Yes    __ No

      If “yes,”

        (1) The parties have discussed the sources and scope of the production of
electronically stored information and have agreed to limit the scope of production
(e.g., accessibility, search terms, date limitations, or key witnesses) as follows:

     At this time, the parties have not formulated any proposed limitations
and will seek the court’s guidance only if they are unable to reach an
agreement during the course of the discovery process.

       (2) The parties have discussed the format for the production of electronically
stored information (e.g., Tagged Image File Format (TIFF or .TIF files), Portable
Document Format (PDF), or native), method of production (e.g., paper or disk),
and the inclusion or exclusion and use of metadata, and have agreed as follows:

       Electronic information that can be produced in PDF or paper format
will be produced either via email, on a disk, or on paper. The parties reserve
the right to seek electronic information through any additional manner,
including but not limited to the original native format and the original

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metadata information. Parties agree to provide reasonable notice of the need
for an additional production method. The parties have preserved all
discoverable electronic matters from spoliation including all electronic
communications.

       (3) In the absence of agreement on issues regarding discovery of
electronically stored information, the parties shall request a scheduling conference
in paragraph 9 hereof.

      The parties have come to an agreement in principle regarding the
discovery of electronically stored information; therefore, the parties will not
require a scheduling conference.

12. Other Orders:

      What other orders do the parties think that the Court should enter under Rule
26(c) or under Rule 16(b) and (c)?

      None at this time.

13. Settlement Potential:

       (a) Lead counsel for the parties certify by their signatures below that they
conducted a Rule 26(f) conference that was held on January 9, 2018 and that they
participated in settlement discussions. Other persons who participated in the
settlement discussions are listed according to party.

For Plaintiffs:

Counsel (signature):        /s/Jeffrey R. Filipovits
                            /s/Zack Greenamyre

For Defendant Marc Lofton:

Counsel (signature):        /s/ James R. Westbury

For Defendant City of Statham and Chief Johnston:


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Counsel (signature):        /s/ Dianna J. Lee

      (b) All parties were promptly informed of all offers of settlement and
following discussion by all counsel, it appears that there is now:

      _____ A possibility of settlement before discovery.
        X A possibility of settlement after discovery.
      _____ A possibility of settlement, but a conference with the judge is needed.
      _____ No possibility of settlement.

      (c) Counsel ____ do or X do not intend to hold additional settlement
conferences among themselves prior to the close of discovery.

       (d) The following specific problems have created a hindrance to settlement
of this case.

14. Trial by Magistrate Judge:

      Note: Trial before a Magistrate Judge will be by jury trial if a party is
otherwise entitled to a jury trial.

      (a) The parties ____ do consent to having this case tried before a magistrate
judge of this court. A completed Consent to Jurisdiction by a United States
Magistrate Judge form has been submitted to the clerk of court this ________ day
of ____________, 20____.

      (b) The parties X do not consent to having this case tried before a
magistrate judge of this court.


      This 1st day of February, 2018.


Attorneys for Plaintiff:                        Attorneys for Defendants:

/s/ Jeffrey R. Filipovits                       /s/ Dianna J. Lee_______________
Jeffrey R. Filipovits                           Harvey S. Gray
Georgia Bar No. 825553                          Georgia Bar No. 305838

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Filipovits Law Firm, PC               Dianna J. Lee
2900 Chamblee-Tucker Road             Georgia Bar No. 163391
Building 1                            GRAY, RUST, ST. AMAND, MOFFETT &
Atlanta, GA 30341                     BRIESKE, LLP
                                      1700 Atlanta Plaza
/s/ Zack Greenamyre                   950 East Paces Ferry Road
Zack Greenamyre                       Atlanta, Georgia 30326
Georgia Bar No. 293002                (404) 870-7376 (Gray)
Mitchell & Shapiro LLP                (404) 870-5955 (Lee)
3490 Piedmont Road, Suite 650         (404) 870-7374 (Fax)
Atlanta, Georgia 30305                hgray@grsmb.com
404-812-4747                          dlee@grsmb.com
zack@mitchellshapiro.com              Counsel for Defendants City of Statham,
                                      Georgia and Allan Johnson

                                      /s/ James R. Westbury, Jr. ________
                                      James R. Westbury, Jr.
                                      Georgia Bar No. 749626
                                      Matthew H. Bennett
                                      Georgia Bar No. 123408
                                      Westbury & Bennett, P.C.
                                      1012 Memorial Drive, Suite 13
                                      Griffin, GA 30223
                                      (678) 688-3554
                                      (678) 688-3526 (Fax)
                                      jrw@westburylaw.net
                                      mbennett@westburylaw.net
                                      Counsel for Defendant Marc Lofton




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                              *************

                             SCHEDULING ORDER

      Upon review of the information contained in the Joint Preliminary Report

and Discovery Plan form completed and filed by the parties, the Court orders that

the time limits for adding parties, amending the pleadings, filing motions,

completing discovery, and discussing settlement are as set out in the Federal Rules

of Civil Procedure and the Local Rules of this Court, except as herein modified:

      IT IS SO ORDERED, this ________ day of ___________, 2018.


                             _________________________________
                             THE HONORABLE RICHARD W. STORY
                             UNITED STATES DISTRICT JUDGE
                             NORTHERN DISTRICT OF GEORGIA




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                 CERTIFICATION OF ELECTRONIC FILING

      The undersigned hereby certifies the filing of this Joint Preliminary Report

and Discovery Plan upon the parties and all counsel by the Court’s Electronic

Filing System.

      DATED: This 1st day of February, 2018.

                                              /s/ Zack Greenamyre
                                              Zack Greenamyre
                                              Georgia Bar No. 293002




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